              Case 4:18-cv-01044-HSG Document 20 Filed 05/15/18 Page 1 of 4



 1   Ann McFarland Draper (SBN 065669)
       courts@draperlaw.net
 2   Draper Law Offices
     75 Broadway, Suite 202
 3   San Francisco, California 94111
     Tel: (415) 989-5620
 4
     Attorneys for Defendants Dan Rasure,
 5   TheShop dot Build LLC, and TheShop
     dot Build San Fran LLC
 6

 7

 8                                     UNITED STATES DISTRICT COURT
 9                                NORTHERN DISTRICT OF CALIFORNIA
10   TECHSHOP, INC., a California corporation,       Case No. 4:18-cv-01044-HSG
11                              Plaintiff,
              vs.
12
     DAN RASURE, THESHOP DOT BUILD,                                     Hearing
13   LLC, a Kansas limited liability company (sued Date & Time:    August 16, 2018 at 2:00 p.m.
     herein under the name TECHSHOP 2.0 LLC), Judge:               Hon. Haywood S. Gilliam, Jr.
14   THESHOP DOT BUILD SAN FRAN, LLC, a Location:                  Courtroom 2, 4th Floor
     Kansas limited liability company (sued herein
15   under the name TECHSHOP 2.0 SAN                               1301 Clay Street
     FRANCISCO LLC),                                               Oakland, CA 94612
16
                                Defendants.          Trial Date:   None Set
17                                                   Action Filed: January 16, 2018

18

19

20                           NOTICE OF MOTION AND MOTION TO DISMISS;
                             MEMORANDUM OF POINTS AND AUTHORITIES
21                              [FRCP 12(b)(1), 12(b)(6), 12(b)(7), 17 and 19]

22

23

24

25

26
27
     _____________________________________
28
     Techshop, Inc., v Dan Rasure, et al (4:18-cv-01044-HSG)
     NOTICE OF MOTION AND MOTION TO DISMISS; MEMORANDUM OF POINTS AND AUTHORITIES
     [FRCP 12(b)(1), 12(b)(6), 12(b)(7), 17 and 19]
              Case 4:18-cv-01044-HSG Document 20 Filed 05/15/18 Page 2 of 4



 1                                    NOTICE OF MOTION AND MOTION
 2   TO:      PLAINTIFF AND TO ITS ATTORNEYS OF RECORD HEREIN:

 3            PLEASE TAKE NOTICE THAT ON Thursday, August 16, 2018, at 2:00 p.m., or as soon

 4   thereafter as the matter may be heard, in the courtroom of Hon. Haywood S. Gilliam, Jr.,

 5   Courtroom 2, located at 1301 Clay Street, Oakland, CA 94612, Defendants DAN RASURE

 6   (“Rasure”), THESHOP DOT BUILD, LLC, a Kansas limited liability company (“Build LLC”),1

 7   and THESHOP DOT BUILD SAN FRAN, LLC, a Kansas limited liability company (“Build SF

 8   LLC”)2 (collectively “Movants”), will and hereby do move to dismiss the action for failure to join

 9   a party or to bring the action in the name of, or join or substitute, the real party in interest.

10            This Motion will be based on this Notice of Motion and Motion, the Memorandum of

11   Points and Authorities set forth below, and the accompanying Request for Judicial Notice and

12   Declaration of Ann McFarland Draper filed and served herewith, and upon all the papers, records

13   and pleadings filed herein.

14

15   DATED: May 15, 2018
                                                     Respectfully Submitted,
16
                                                     DRAPER LAW OFFICES
17

18                                                   By           /s/ Ann McFarland Draper_______
19                                                          Ann McFarland Draper
                                                     Attorneys for Defendants Dan Rasure, TheShop dot
20                                                   Build LLC, and TheShop dot Build San Fran LLC
21

22

23

24

25

26
27
     1
              Build LLC was sued herein under its former name “TechShop 2.0 LLC”.
     2
              Build SF LLC was sued herein under its former name “TechShop 2.0 San Francisco LLC”.
     _____________________________________
28
     Techshop, Inc., v Dan Rasure, et al (4:18-cv-01044-HSG)                                             -1
     NOTICE OF MOTION AND MOTION TO DISMISS; MEMORANDUM OF POINTS AND AUTHORITIES
     [FRCP 12(b)(1), 12(b)(6), 12(b)(7), 17 and 19]
              Case 4:18-cv-01044-HSG Document 20 Filed 05/15/18 Page 3 of 4



 1                           MEMORANDUM OF POINTS AND AUTHORITIES
 2            TechShop, Inc. (“Debtor”), as plaintiff, filed this trademark infringement action on January

 3   16, 2018 and served Defendants on February 22, 2018. Exhibit “A” to the Request for Judicial

 4   Notice *”RJN”). Four days later, on February 26, 2018, Debtor filed a voluntary petition under

 5   Chapter 7 of the Bankruptcy Code (the “Petition”), commencing its bankruptcy case. Exhibit “B”

 6   to the RJN. Doris A. Kaelin has been appointed Trustee in the Chapter 7 case (“Trustee”). Draper

 7   Declaration, ¶ 5.

 8            Upon filing of the Petition, a bankruptcy estate was created. 11 U.S.C. §541. The

 9   bankruptcy estate is comprised of all property, including intangible property a debtor had prior to

10   the commencement of the bankruptcy case, including any and all possible causes of action. See 11

11   U.S.C. §541(a)(1); United States vs Whiting Pools, Inc., 462 U.S. 198, 205 and n.9; Gordon v.

12   Hines (In re Hines), 147 F.3d 1185, 1189 (9th Cir. 1998).

13            In a case under Chapter 7, the trustee is the sole representative of the estate. 11 U.S.C.

14   §323(a). Only the Trustee “has the capacity to sue and be sued.” 11 U.S.C. §323(b). The Debtor

15   no longer has standing to pursue a cause of action which existed at the time the Chapter 7 petition

16   was filed, or to conduct or manage the litigation; only the trustee can do so. See Bauer v.

17   Commerce Union Bank, 859 F.2d 438, 441 (6th Cir. 1988).

18            A federal court cannot exercise jurisdiction over a matter unless the party seeking relief has

19   standing to sue. The Trustee is now the owner of the marks, the federal registrations, and the

20   claims sued upon in this action. Thus, the Debtor lacks prudential standing to pursue the claims

21   sued upon. Ibid; see also Cusano v. Klein, 264 F.3d 936, 945. Because Debtor lacks standing to

22   proceed with this action, dismissal is appropriate pursuant to Rule 12(b)(1).

23            In addition, because the Trustee, rather than the Debtor, is the owner of the marks,

24   registrations and claims sued upon, the real party in interest in this case is no longer Debtor, but is

25   the Trustee. The Trustee is the sole real party in interest by virtue of Fed. R. Civ. Proc. Rule 17(a)

26   and UU U.S.C. § 323(a) and (b). An action must be prosecuted in the name of the real party in

27   interest. Fed. R. Civ. Proc. Rule 17(a)(1). Defendants have requested that the Trustee be
     _____________________________________
28
     Techshop, Inc., v Dan Rasure, et al (4:18-cv-01044-HSG)                                               -2
     NOTICE OF MOTION AND MOTION TO DISMISS; MEMORANDUM OF POINTS AND AUTHORITIES
     [FRCP 12(b)(1), 12(b)(6), 12(b)(7), 17 and 19]
              Case 4:18-cv-01044-HSG Document 20 Filed 05/15/18 Page 4 of 4



 1   substituted in place of Debtor as Plaintiff in this action. Draper Declaration, ¶¶ 7-9, ¶ 12. A

 2   reasonable time has passed for the real party in interest to join or be substituted into the action, but

 3   neither Debtor nor the Trustee has done so; instead, plaintiff expects Defendants to answer or

 4   respond to the Complaint as originally filed.

 5            The Trustee is the owner of the marks and federal registrations sued upon, as well as the

 6   owner of the claims asserted in this action. The Debtor cannot bring this action, as it does not own

 7   the marks, registrations or claims sued upon. Absent the Trustee, the court cannot accord

 8   complete relief among the existing parties. Thus, the Trustee is a required party within the

 9   meaning of Fed. R. Civ. Proc. Rule 19(a)(1). Normally, the Complaint should be amended and

10   the Trustee substituted in as plaintiff’s successor; however, to date, both Debtor and the Trustee

11   have not done so. The Court cannot simply join the Trustee as a defendant (as is often sometimes

12   done in the case of involuntary co-plaintiffs) because there is no other plaintiff who has standing

13   to sue. When the sole owner of the claims is not willing to join as a party plaintiff, the action

14   must be dismissed under Rules 12(b)(7), 17 and 19 of the Federal Rules of Civil Procedure.

15            When the only plaintiff named lacks standing to bring the lawsuit and is not the real party

16   in interest, it cannot state a claim upon which relief can be granted and thus its claims should be

17   dismissed pursuant to Rule 12(b)(6).

18            Accordingly, Defendants respectfully request that the Court dismiss this action based on

19   failure to join, or to bring the action in the name of, or join or substitute, the Trustee as plaintiff

20   herein. To avoid dismissal, the Trustee must be joined to this action as a party plaintiff.

21

22   DATED: May 15, 2018
                                                     Respectfully Submitted,
23
                                                     DRAPER LAW OFFICES
24

25                                                   By           /s/ Ann McFarland Draper_______
26                                                          Ann McFarland Draper
                                                     Attorneys for Defendant Dan Rasure, TheShop dot
27                                                   Build LLC, and TheShop dot Build San Fran LLC
     _____________________________________
28
     Techshop, Inc., v Dan Rasure, et al (4:18-cv-01044-HSG)                                                   -3
     NOTICE OF MOTION AND MOTION TO DISMISS; MEMORANDUM OF POINTS AND AUTHORITIES
     [FRCP 12(b)(1), 12(b)(6), 12(b)(7), 17 and 19]
